Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 1 of 8         PageID #:
                                  2414



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                  UNITED STATES DISTRICT COURT
                              DISTRICT OF HAWAII

                                            CR. NO. 18-00068 JMS-WRP
 UNITED STATES OF AMERICA,
                 Plaintiff,                    MOTION OF THE UNITED
            v.                                 STATES FOR ISSUANCE OF
                                               A PRELIMINARY ORDER OF
 KATHERINE P. KEALOHA (1),                     CRIMINAL FORFEITURE
                 Defendant.

          MOTION OF THE UNITED STATES FOR ISSUANCE OF A
           PRELIMINARY ORDER OF CRIMINAL FORFEITURE

       COMES NOW Plaintiff, UNITED STATES OF AMERICA, by and through

 its counsel, the Attorney General William P. Barr, United States Attorney Robert S.

 Brewer, Jr., and the Special Attorneys named herein, and respectfully submits the
Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 2 of 8             PageID #:
                                  2415



 United States Government’s Motion for Issuance of a Preliminary Order of Criminal

 Forfeiture. In support thereof, the United States sets forth the following:

       1.     On or about September 19, 2019, a Third Superseding Indictment was

 returned against Defendant, KATHERINE P. KEALOHA (1) (“Defendant”). The

 Third Superseding Indictment charged the Defendant with, inter alia, Bank Fraud,

 in violation of 18 U.S.C. § 1344, and Aggravated Identity Theft, in violation of 18

 U.S.C. § 1028A, and alleged criminal forfeiture pursuant to 18 U.S.C.

 § 982(a)(2)(A), 982(b) and 28 U.S.C. § 2461(c).

       2.     On or about October 22, 2019, the Defendant pled guilty before the

 Honorable J. Michael Seabright to Counts Three and Ten of the Third Superseding

 Indictment, consented to the forfeiture allegations of the Third Superseding

 Indictment, and agreed to forfeit all property seized in connection with this case,

 including but not limited to:

              (1)   A money judgment in the amount of $228,746.79
                    representing the proceeds Defendant obtained from the
                    offenses set forth in Counts Three and Ten;

              (2)   The total amount of proceeds obtained directly or
                    indirectly as a result of the offense of conviction, including
                    but not limited to $63,476.97 in proceeds from the sale of
                    Defendant’s residence located at 7014 Niumalu Loop,
                    Honolulu, HI 96825;

              (3)   All of that certain parcel of land situated at Maunalua,
                    Honolulu, City and County of Honolulu, State of Hawaii,
                    being LOT 84 of the "LUNA-KAI MARINA, UNIT 9-A,"



                                           2
Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 3 of 8             PageID #:
                                  2416



                    as shown on File Plan No. 1116, filed in the Bureau of
                    Conveyances of the State of Hawaii, and containing an
                    area of 7,508 square feet, more or less; and,

              (4)   A Rolex Two-Tone Submariner Watch with Blue Dial
                    Large Karat Gold, Serial Number V864527.

       3.     The Court’s jurisdiction in this matter is founded upon 18 U.S.C.

 §982(a)(2)(A), which provides, with respect to any person convicted of 18 U.S.C.

 § 1344:

       18 U.S.C. § 982

              (a)(2) The court, in imposing sentence on a person convicted of
              a violation of, or a conspiracy to violate—

                    (A) section 215, 656, 657, 1005, 1006, 1007, 1014,
                    1341, 1343, or 1344 of this title, affecting a financial
                    institution, . . .
              shall order that the person forfeit to the United States any
              property constituting, or derived from, proceeds the person
              obtained directly or indirectly, as the result of such violation.

       4.     Pursuant to Rule 32.2(b)(3), the Court is further authorized to enter the

 requested Order of Criminal Forfeiture after conviction but prior to sentencing.

       5.     According to the pertinent statutes, the Court must enter a Money

 Judgment of Forfeiture against the Defendant in the amount $228,746.79, which

 represents proceeds of bank fraud as described in Count Three of the Third

 Superseding Indictment, and as admitted in Defendant’s Plea Agreement, and is

 subject to forfeiture to the United States pursuant to 18 U.S.C. § 982(a)(2)(A).




                                           3
Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 4 of 8               PageID #:
                                  2417



       6.     By virtue of said guilty plea and the Court’s findings, the United States

 is now entitled to said proceeds from the Defendant in the amount of $228,746.79,

 pursuant to 18 U.S.C. §982(a)(2)(A) and Rule 32.2(b) of the Federal Rules of

 Criminal Procedure.

       7.     In the plea agreement, the Defendant has agreed that the provisions for

 the substitution of assets as provided in 18 U.S.C. § 982(b), which incorporates 21

 U.S.C. § 853(p), and has agreed the United States may take actions to collect the

 $228,746.79 forfeiture.

       8.     Further, according to the pertinent statutes, the Court is requested to

 enter an order of forfeiture in favor of the United States in the specific items of

 property described in paragraph 2 above, which Defendant admitted are proceeds of

 the violation of 18 U.S.C. § 1344 of which Defendant pled guilty.

       9.     Pursuant to Rule 32.2(b), the United States requests the authority to

 take custody of these specific properties that were found forfeitable by the Court.

       10.    The United States further requests pursuant to Rule 32.2(b)(3) and (c)

 that the Court enter an order to begin proceedings consistent with any statutory

 requirements pertaining to ancillary hearings and rights of third parties.

       11.    Upon the issuance of a Preliminary Order of Criminal Forfeiture, the

 United States will provide written notice to all third parties asserting a legal interest

 in the above-described properties and will publish notice on the United States’




                                            4
Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 5 of 8             PageID #:
                                  2418



 forfeiture website, www.forfeiture.gov, of the Court’s Order and the United States’

 intent to dispose of the properties in such manner as the Attorney General may direct,

 pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the Supplemental Rules for

 Admiralty or Maritime Claims and Asset Forfeiture Actions.

       12.    By virtue of the facts set forth in the Plea Agreement, the United States

 has established the requisite nexus between the forfeited properties and the offense.

       13.    When the forfeiture money judgment is entered as to Defendant, the

 Government requests that it be joint and several with co-Defendant Louis M.

 Kealoha.

       14.    The United States has submitted the text of this Motion and Order to

 the Defendant, through her attorney of record, to review as to the timing and form

 of the order. To date, no objection to the Motion and Order has been received. The

 guilty pleas of the Defendant provide a factual basis for the forfeiture of the above-

 referenced assets.

       WHEREFORE, the United States respectfully requests:

       1.     That this Court enter the proposed Preliminary Order of Criminal

 Forfeiture, forfeiting to the United States of America all right, title and interest of

 Defendant KATHERINE P. KEALOHA (1) in the following assets, and ordering

 the United States Marshals Service to take control of item (3), and take custody of

 items (2) and (4) forthwith and maintain them in its secure custody and control




                                           5
Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 6 of 8            PageID #:
                                  2419



 pending ancillary proceedings, which will resolve the interest of any third parties

 claiming an interest in the property(ies):

              (2)    The total amount of proceeds obtained directly or
                     indirectly as a result of the offense of conviction,
                     including but not limited to $63,476.97 in proceeds
                     from the sale of Defendant’s residence located at 7014
                     Niumalu Loop, Honolulu, HI 96825;

              (3)    All of that certain parcel of land situated at Maunalua,
                     Honolulu, City and County of Honolulu, State of
                     Hawaii, being LOT 84 of the “LUNA-KAI MARINA,
                     UNIT 9-A,” as shown on File Plan No. 1116, filed in
                     the Bureau of Conveyances of the State of Hawaii, and
                     containing an area of 7,508 square feet, more or less;
                     and,

              (4)    A Rolex Two-Tone Submariner Watch with Blue Dial
                     Large Karat Gold, Serial Number V864527.

       2.     That this Court also enter a Forfeiture Money Judgment in favor of the

 United States of America against Defendant KATHERINE P. KEALOHA (1) in the

 amount of $228,746.79, pursuant to 18 U.S.C. §982(a)(2)(A) and Rule 32.2(b) of

 the Federal Rules of Criminal Procedure, with interest to accrue thereon in

 accordance with 18 U.S.C. § 3612(f) and 28 U.S.C. § 1961.

       3.     That the United States District Court retain jurisdiction in the case for

 the purpose of enforcing the Order of Forfeiture, including enforcement of collection

 and substitution of assets against the forfeiture money judgment.

       4.     That Defendant’s forfeiture money judgment shall be joint and several

 with her co-defendant, Louis M. Kealoha, and any payment or collection on the



                                              6
Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 7 of 8          PageID #:
                                  2420



 forfeiture order of $228,746.79 by or against either Defendant, Katherine P. Kealoha

 or Louis M. Kealoha, shall be credited to the forfeiture money judgment entered

 against each defendant.

       5.     That the United States may, at any time, move pursuant to Rule 32.2(e)

 to amend the Order of Forfeiture to substitute property having a value not to exceed

 $228,746.79 to satisfy the Order of Forfeiture in whole or in part.

       6.     That pursuant to Rule 32.2(b)(4), the Order of Forfeiture shall be made

 final as to the Defendant at the time of sentencing and be part of the sentence and

 included in the judgment.

       Dated: November 24, 2020.

                                        Respectfully submitted,

                                        WILLIAM P. BARR
                                        Attorney General

                                        ROBERT S. BREWER, JR.
                                        United States Attorney


                                        By /s/ Janaki G. Chopra
                                         MICHAEL G. WHEAT
                                         JOSEPH J.M. ORABONA
                                         JANAKI G. CHOPRA
                                         COLIN M. MCDONALD
                                         Special Attorneys to the Attorney General




                                           7
Case 1:18-cr-00068-JMS-WRP Document 241 Filed 11/24/20 Page 8 of 8           PageID #:
                                  2421



                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


                                               CR. NO. 18-00068 JMS-WRP
 UNITED STATES OF AMERICA,
                                               CERTIFICATE OF SERVICE
                  Plaintiff,
             v.
 KATHERINE P. KEALOHA (1),
                  Defendant.


        I hereby certify that, on the date and by the method of service noted below, a
 true and correct copy of the foregoing was served on the following parties:

 Served Electronically through CM/ECF:

       Gary Gurmail Singh, Attorney for Defendant Katherine P. Kealoha

       DATED: November 24, 2020, at San Diego, California.

                                        /s/ Janaki G. Chopra
                                        JANAKI GANDHI CHOPRA
                                        Special Attorney to the Attorney General




                                           8
